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                           UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

In re:                                          :          Case No. 18-55889
                                                :
         Ed Map, Inc.,                          :          Chapter 11
                                                :
                         Debtor.                :          Judge Hoffman

                   NOTICE OF FILING OF CORPORATE RESOLUTION

         Pursuant to the provisions of Local Bankruptcy Rule 1074-1(b), the Corporate Resolution

of Ed Map, Inc., Debtor and Debtor-in-Possession, authorizing the filing of this Chapter 11 case

is attached.

                                      Respectfully submitted,


                                       /s/ John W. Kennedy
                                      Myron N. Terlecky (0018628)
                                      John W. Kennedy (0042672)
                                      Strip, Hoppers, Leithart, McGrath & Terlecky Co., LPA
                                      575 South Third Street
                                      Columbus, Ohio 43215-5759
                                      Telephone: (614) 228-6345
                                      Facsimile: (614) 228-6369
                                      Email: mnt@columbuslawyer.net
                                      Proposed Attorneys for Ed Map, Inc.,
                                      Debtor and Debtor-in-Possession




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        and performance of Company's obligations and the enforcement of its rights thereunder
        or otherwise with respect to such matters.


        RESOLVED, that all actions previously taken or that will be taken by any authorized
        officer of the Company in connection with or related to the matters set forth in or
        reasonably contemplated by the foregoing resolutions be, and each of them hereby is,
        adopted, ratified, and confirmed and approved in all respects as the acts and deeds of
        Company.

 IN WITNESS WHEREOF, the undersigned have executed this Action by Written Consent of
 Directors as ofthe day and year first written above.




 Michael D.Mark                                         Kerry S. Pigman




 Lynn R. Gellermann                                     James Dugan




 Carol Clark                                            David Kirkpatrick

                                                                               DIRECTORS
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Michael D. Mark                                  Kerry S. Pigman




Lynn R. Gellermann                               James Dugan




Carol Clark                                      David Kirkpatrick

                                                                              DIRECTORS




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  @~~
Lynn R. Gellermann                               James Dugan




Carol Clark                                      David Kirkpatrick

                                                                              DIRECTORS




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Michael D. Mark                                    Kerry S. Pigman




Lynn R. Gellermann                                 James Dugan



/s/ Carol Clark by e-mail authority attached
Carol Clark                                        David Kirkpatrick

                                                                              DIRECTORS




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